403 F.2d 61
    Roy ANDERSON, Petitioner,v.FEDERAL COMMUNICATIONS COMMISSION, Respondent.
    No. 218.
    Docket 32836.
    United States Court of Appeals Second Circuit.
    Argued October 30, 1968.
    Decided October 31, 1968.
    
      Roy Anderson, petitioner, pro se.
      Stuart F. Feldstein, Counsel, Federal Communications Commission (John H. Conlin, Assoc. Gen. Counsel, Federal Communications Commission, Washington, D. C., on the brief), for respondent.
      Before LUMBARD, Chief Judge, and MEDINA and HAYS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Petitioner, a self-proclaimed candidate of the Public Service Party for the office of United States Senator from New York, has sought a ruling by the FCC that he is a legally qualified candidate within the meaning of Section 315 of the Communications Act of 1934, as amended, 47 U.S. C. Section 315, and hence entitled to equal time on the broadcasting stations to support his candidacy. Accordingly, he has filed this petition for review of the order of the FCC denying him relief.
    
    
      2
      The record is barren of facts sufficient to establish petitioner's qualification for equal time. Moreover, such relief would be premature for petitioner has not shown that he has been denied equal time by any of the broadcasting stations. The various miscellaneous motions are denied.
    
    
      3
      Petition denied.
    
    